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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

  Case No.       EDCV 20-1746 JGB (SPx)                               Date October 26, 2021
  Title James Rutherford v. VKND Kendall, LLC, et al.


  Present: The Honorable         JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE


                MAYNOR GALVEZ                                          Not Reported
                  Deputy Clerk                                        Court Reporter


     Attorney(s) Present for Plaintiff(s):                 Attorney(s) Present for Defendant(s):

                     None                                                  None

  Proceedings:      Order GRANTING Defendant’s Ex Parte Application to Continue the
                    Motion for Summary Judgment Hearing (Dkt. No. 32) (IN CHAMBERS)


        Before the Court is Defendant VKND Kendall LLC’s (“Defendant”) ex parte
 application to extend the time to file an opposition to Plaintiff James Rutherford’s (“Plaintiff”)
 motion for summary judgment (“MSJ,” Dkt. No. 30) or, in the alternative, to continue the
 hearing on the MSJ set for November 8, 2021. (“Application,” Dkt. No. 32.) Plaintiff opposed
 the Application on October 22, 2021. (“Opposition,” Dkt. No. 35.) Defendant replied on
 October 25, 2021. (“Reply,” Dkt. No. 37.)
       The Court notes that Defendant filed the opposition to the MSJ on October 25, 2021.
 (“MSJ Opposition,” Dkt. No. 41.) Accordingly, the Application’s request for an extension is
 now MOOT.
        After considering the papers filed in support of and in opposition to the Application, the
 Court GRANTS the Application’s request to continue the MSJ hearing and CONTINUES the
 hearing to Monday, November 15, 2021 at 9:00 a.m. Plaintiff’s reply will be due on November 1,
 2021.


 IT IS SO ORDERED.




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